Case 3:21-cv-12870-MAS-DEA Document 9-15 Filed 07/14/21 Page 1 of 6 PageID: 352




               EXHIBIT O
                                   Case 3:21-cv-12870-MAS-DEA Document 9-15 Filed 07/14/21 Page 2 of 6 PageID: 353




                                    SO ORDERED, re 106 Stipulation of Dismissal filed by Bionpharma Inc., ***Civil Case
                                    Terminated. Signed by Judge Leonard P. Stark on 5/19/21. (ntl) (Entered: 05/21/2021)




                                    As of May 24, 2021, PACER did not contain a publicly available document associated
                                    with this docket entry. The text of the docket entry is shown above.

                                    Silvergate Pharmaceuticals, Inc. v. Bionpharma Inc.
                                    1-20-cv-01256 (DDE), 5/21/2021, docket entry




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Case 3:21-cv-12870-MAS-DEA Document 9-15 Filed 07/14/21 Page 3 of 6 PageID: 354




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  SILVERGATE PHARMACEUTICALS, INC.,

                         Plaintiff,
                                                             C.A. No. 20-1256 (LPS)
         v.

  BIONPHARMA INC.

                         Defendant.

                           JOINT STIPULATION FOR DISMISSAL

        Plaintiff Silvergate Pharmaceuticals, Inc. (“Silvergate”) and Defendant Bionpharma Inc.

 (“Bionpharma”) hereby stipulate, subject to approval of the Court, to dismiss with prejudice the

 above captioned case:

        WHEREAS, on December 12, 2018 and June 7, 2019, Silvergate instituted Civil Action

 Nos. 18-1962 and 19-1067, respectively, in this Court (“First Wave Suits”), alleging that

 Bionpharma’s Abbreviated New Drug Application (“ANDA”) No. 212408 (“Bionpharma’s

 ANDA”), which seeks approval from the United States Food and Drug Administration (“FDA”)

 to market an enalapril maleate oral solution, 1 mg/mL (“Bionpharma’s ANDA Product”), infringes

 Silvergate’s U.S. Patent Nos. 9,669,008, 9,808,442, 10,039,745, and 10,154,987 (“the First Wave

 Patents”);

        WHEREAS, on September 18, 2020, Silvergate instituted the instant action (“Second

 Wave Suit”) alleging that Bionpharma’s ANDA infringes U.S. Patent No. 10,772,868 (“’868

 patent”);

        WHEREAS, on September 29, 2020, Silvergate filed an amended complaint in the Second

 Wave Action adding a claim alleging that Bionpharma’s ANDA infringes U.S. Patent No.

 10,786,482 (“’482 patent”);
Case 3:21-cv-12870-MAS-DEA Document 9-15 Filed 07/14/21 Page 4 of 6 PageID: 355




        WHEREAS, on February 1-5, 2021, this Court held a consolidated bench trial in the First

 Wave Suits;

        WHEREAS, on March 4, 2021, Silvergate filed a second amended complaint in the Second

 Wave Suit adding a claim seeking a declaratory judgment that Bionpharma’s ANDA product will

 infringe U.S. Patent No. 10,918,621 (“’621 patent”) (the ’868, ’482, and ’621 patents, collectively,

 “Second Wave Patents”);

        WHEREAS, on March 31, 2021, Silvergate filed a motion for preliminary injunction in the

 First Wave Suits and in the Second Wave Suit (C.A. No. 18-1962, D.I. 231; C.A. No. 19-1067,

 D.I. 218; C.A. No. 20-1256, D.I. 67);

        WHEREAS, on April 27, 2021, this Court issued an Opinion in the First Wave Suits (C.A.

 No. 18-1962, D.I. 257; C.A. No. 19-1067, D.I. 244), finding that Bionpharma’s ANDA and the

 product described therein do not infringe the asserted claims of the First Wave Patents;

        WHEREAS, on April 29, 2021, this Court entered Final Judgments in the First Wave Suits

 (C.A. No. 18-1962, D.I. 270; C.A. No. 19-1067, D.I. 257) in favor of Bionpharma on Silvergate’s

 infringement claims, and in favor of Bionpharma on Bionpharma’s counterclaims for non-

 infringement;

        WHEREAS, on April 30, 2021, Silvergate filed a notice of appeal in the First Wave Suits

 (C.A. No. 18-1962, D.I. 271; C.A. No. 19-1067, D.I. 258);

        WHEREAS Silvergate disputes the Court’s April 27, 2021 Opinion in the First Wave Suits

 and has appealed that Opinion and the final judgments in the First Wave Suits;

        WHEREAS Bionpharma contends the Final Judgments entered in the First Wave Suits bar

 Silvergate’s infringement claims in the Second Wave Suit pursuant to the doctrine of collateral

 estoppel;



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Case 3:21-cv-12870-MAS-DEA Document 9-15 Filed 07/14/21 Page 5 of 6 PageID: 356




        WHEREAS Silvergate contends the issues on appeal in the First Wave Suits will affect the

 scope of the issues in the Second Wave Suit;

        WHEREAS Silvergate reserves all rights to bring an action against Bionpharma with

 respect to the Second Wave Patents in the event that the Federal Circuit reverses or vacates all or

 a relevant portion of the Final Judgments entered in the First Wave Suits;

        IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Silvergate

 and Bionpharma, subject to the approval of the Court, that all claims and counterclaims, defenses,

 motions and petitions asserted in this action are dismissed WITH PREJUDICE, except that such

 dismissal is WITHOUT PREJUDICE to Silvergate’s ability to re-assert the Second Wave

 Patents against Bionpharma in the event that the Federal Circuit renders a decision whereby

 collateral estoppel would not apply to bar Silvergate’s assertion of the Second Wave Patents

 against Bionpharma. In the event that Silvergate pursues such relief, Bionpharma shall retain the

 right to respond with any and all defenses and counterclaims. Each party shall bear its own costs

 and attorneys’ fees with respect to the matters dismissed in this Second Wave Suit.



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 May 17, 2021
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Case 3:21-cv-12870-MAS-DEA Document 9-15 Filed 07/14/21 Page 6 of 6 PageID: 357




              SO ORDERED this ___ day of May, 2021.



                                             UNITED STATES DISTRICT JUDGE




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